Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 1 of 47 PagelD: 6

EXHIBIT A
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 2 of 47 PagelD: 7

Anorney tn in pater

. Lela pre se SUPE RIOR, COURT OF: NEW JERSE ¥Y
840 Bians ch Avenue

BERGEN COUNTY

LAW DIVISION

  

 

Norwood, New Tes 07648

 

 

  

 
      

Richard M, Zelma > / Nicole Z Zena Docket No.: BER-L-2795-16
Plaintiffs
: y and . .
atrick Burke, as SCE tof Computer Telephony Innovations fac; CIVIL ACTION
Hrace Burke 9s Chairman & Senior Officer of Computer Telephone | ,

wnovations In ne. and Computer 7 Telephone Innovations Inc., d/b/a
oxT éleSvsicom

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Defendantys fs} | SUMMONS

The State of Aim Tecan “The Defendant(s) Named Above:

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DATED: April 6,

 

SERVE ALL at i723 Walnut Sire » Wa
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Pursuagt fo Ry 4:4-4(b i LC): Service by First Class Ma

 
 

Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 3 of 47 PagelD: 8

 

 

CIVIL CASE INFORMATION STATEMENT

 

 

 

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Use for initial Law’ Division

RG "
Civil Part pleadings {nol motions) under Rule 4: S1

 

 

Pleading will be rejected for filing, under Rute 4: :5-6(c), OuERRAMEE
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Rishars Zelma & Nicole Zelmia vs. Patrick Burke,
Bruce Burke and Computer Telephony innovations, ine alka, tbls
VoxT ele Sys: fom.

 

 

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18. IF YES, 1ST DOCKET NUMBERS | ~ we

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WOANY PARTIES | 17. NAME OF DEFENDANT'S PRUJARY INGURANOE- COMPANY. [2 knows

  

 

 

 
 

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Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 4 of 47 PagelD: 9

 

CIVIL CASE INFORMATION STATEMENT
(CiS)

Use for initial pleadings (not motions) ander Rule 4-5-4

 

 

 

CASE TYPES (Choose one and enter mimber of case type in appropriate space on ihe reverse side.)

Track} - 450 days’ discovery
461 NAME CHANGE
178 FORFEITURE
392 TENANCY
380 REAL PROPERTY. {other than Tenancy, Contract, Concemnation, Complex Commenset or Construction}
802 BOOK ACCOUNT (debi collection matters ory)
$05 OTHERINSURANCE CLAIM (including declaratory fudgment acilons)
806 ee COVERAGE.
S10 Ui ar WIM QUAI (coverage issues aniy)
ait Aer {ON ON NEGOTIABLE INSTRUMENT
612 LEMON LAW.
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G90 OTHER ibdelly describe nature of atten}

Track Ho» 360 days’ discovery
305 CONSTRUCTION
S00 EMPLOYMENT (other than CEPs or LAD}
$89 CONTRACTACOMMERCIAL TRANSACTION
605N ALITO NEGLIGENCE — PERSONAL INJURY {nanverbal threshold
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621 UM or UM CLAIM diechides bodily inusy}
629 TORT -. ‘OTHER

Track Hil ~ 456 days" discovery
OOS CIVIL RIGHTS =. -
ay CONDEMNATION
G02 ASSAULT ANE BATTERY
604 MEDICAL MALPRACTICE
606 PRODUCT LIABILITY
607 PROFESSIONAL MALPRACTICE
88 TOME: TORT
boo DEFAMATION
aa LESLOWER / CONSCIENTIOUS EMBLOVEE PROTROTION AGT (Obra) CASES
ad INVERSE CONDEMNATION |
818 LAM AGAINST DISCRIMINATION (LAD) CASES

Track WV - Active Case Management by Individual Judge / 450 days’ discovery
156 ENVIRONMENT TAVENVIRONMENTAL COVERAGE LITHZATION
303 MT LAUREL
556 COMPLER CORIMERCIAL ..
813 COMPLEX CONSTRUCTION
S14 INSURANCE FRAUD
820 FALSE CLAIMS ACT
701 ACTIONS INLIEW OF PREROGATIVE WRITS

Multicounty Litigation: (Track iV}

  

274 ACCUTANEASOTRETINGIN 290. POMPTON LAKES ENVIRONMENTAL LITIGATION

274 RISPERDALISEROQUEUZYPRERKA 287 PELVIC MESH/GYNECARE °

278 ZOMETAAREDIA 202. PELVIC MESH/BARD

279 GADOGUNIIM 203 DEPUY ASR HIP IMPLANT LITIGATION

2B1 BRISTOL-WVYERS SOUIRE ENVIRONMENTAL 295 ALLODERM REGENERATIVE ‘ISSUE: MATRIX 1
282 FOSAMAX / 298 STRYKER REJUVENATE/ABG 1 MODULAR HIP-STEM COMPONENTS
285 STRYKER TRIDENT HIP IMPLANTS 287 -MIRENA CONTRACEPTIVE DEVICE 1
286 LEVACHHN 299 OLMESARTAN MEDOXOMIL MEDIGATIONSBENIGA

287 YAZ/VASMINIOCELLA |. 305 TALC-BASED SODY POWDERS.

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Effective 1207/2075, 0N 10517 ne Page Sot é
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 5 of 47 PagelD: 10

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Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 6 of 47 PagelD: 11

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ICHARD M. ZELMA
Riel nard M. Zeina, Pro Se
940) Blanch Avenue
Norwood. New Jersey 07648
TCPALA Wi@optoniine. net
Tel: 201 767 8153

 

 

 

 

 

  
 
 
 
  
  
 
  

Patrick Burke as Chief Executive
Officer of Computer Telephony

Innovations, Inc :
and :
| Bruce Burke as Chairman and Senior |. ¢¢
Officer of Computer Telephony _
innovations, Inc
and ES
| Computer Telephony i tanovations.

_alkia, d/bla VoxTeleSys. com
cand :
| Does’ F- 5). and ABC Corporations

Richard Mo Zelma eee —_

and | Ce

Nicole Zeima SUPERIOR COURT OF NEW JERSEY |

Plaintiffs’ BERGEN COUNTY

Vs. he iv |

Patrick Burke, individually LAS DIVISION , |
and _— - DOCKET NO: BERL- 27.7.5 -/6

Bruce Burke, Individually

‘and

 

TREBLE
MAGES and PERMANENT |
_ANJUNCTIVE RELIEF | 2

  
    
 
 

 

  
 

go
_Defendants’

 

 

NTRODUCTION

i, Plaintifé, Richard M, ‘elma; Plaintiff “Nicole

 

Zeima, bY Ww

 

of Complaint aS against Defendants says as
follows: ~

Z. This suit is brought pursuant to applicable
authorities; 47 U.S.C: §227 (b)}i3); (6)(5); Nid. Sea.
§56:8-119 and N.J.S.A. §§56:8-121(a)(6(b), which prohibit

the initiation of unsolicited marketing calls, made by
“Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 7 of 47 PagelD: 12:

er
OF

Lephone, @ither live 6x prerecorded, whether or not
Conversation ensues and initiated through the use of an

Antomated Dialing and Announcement Device {ADAD) or

Automatic Telephone Dialing System (ATDS}. As set forth
herein, the Defendants repeated calls, made to
Plaintiffs’ homes, caused undue harassment, violated the

pedee and solitude of their homes and violated both

3y Richard M, gelma (hereinafter, "Re" Pleintate ex
“elma } 28 €@& Ratural person and senior citizen,

residing at 948 Blenk&h Avenne, in the Borough of Norwood,
Bergen County New Jersey 07648.
4. Nicole Zelma, {(hereineftrer, - PNZ", "'Blaintifer of

“Sicole Zéima")j is married to the son of Plaintise RZ and

*

side}

i

: with their two sone at 114 Fleetwood Read;
Dumont, Bergen County, New Jersey.
Til, DEFENDANTS

5. Upon intormation and belief, Defendant Patrick and

Bruce Burke {hereinafter “Burke”, “the Burke's" oF

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and operate Computer Telephony
Tunovations, Ine, making the day to day decisions fo
their company. Plaintiffs’ sue the Burke's indi iWidua Lily.

&. ‘Computer Telephony Innovations, Ine. thereinafber

 

or "“Defendant"} is 4 corporation organized. and

2 DOCKET NO” BER -L-€

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 8 of 47 PagelD: 13

éxisting ‘under the laws of the state of Nebraska. having
ite principal place of business believed toa be located at
1723 N. Walnut Street Wahoo, NE 68066.

7. Upon Plaintiffs infermation, understanding and

belief, the Doe Defendants, believed to be Americas

ict

we
co

Choice Construction and All American Chimney 4%

Cleaning, a name provided in each prerecorded call,
Cannot be located or confirmed.

8. Plaintiff made several diligent inquires with
pefendant Bruce Burke to provide more specific

snformation on his client, but regretfully Burke refused

Sy Whenever and wherever it is herein alleged thar the
Defendants, either angividually, in concert or as a

group, dic any act defined or described in the wi

 

mateee, Lt Gs meant the bpefendants performed, caused to

be performed and/or participated in the act, and/or <¢h

Betendants officers, employees, contractors, assigns

£
successors, predecessors, affiliates, or other agenti$}
performed or participated in those acts on pehalf of, for

the benefit of, and/or uanéer the authority of the

IV. JURISDICTION AND VENUE
10, The facts givisg rise 6 this complaint hed their

primary effects in the State of New Jersey, County of

3 . DOCKET NO: BER-L-/

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 9 of 47 PagelD: 14

Bergen: This Court has specific jurisdiction over the
Cetendants under suthority of Nig.S.A. §456:8+119 as
Sefendants were strictly prohibited from soliciting
Plaintiffs as New Jersey residents and the controlling

jurisdiction in which thé violations occurred.

Li. This court has general jurisdiction under 47 ULB...

S227(ey(3) 8 (c}(5) where the Defendant engaged in
Substantial, continuous and eystematic activities,

repeatedly unitieting unwanted autosdialed calls into New
Jersey and within this County, to Plaintiffs, whose phone
nimbers are registered on the Federal and States no-call
Te

nee inception.

12, As further set out below, the defendants’ and @acn

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of them purposely directed their activities towards

Plaintiffs, deliberately, in a continually harassin.

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manner, alarming and annoying their households for thete
own financial gain.
V. COMMONALITY / JOINDER

if. Plaintife and his daughter-in-law collectively
bying this action @s the right te relie? asserted by both
plaintiffs ageinst the defendants, atise ovt of the same
occurrence or occurrences and involve a question of law or face
common to both.  (Rile 4:29. Joinder of Multiple Parties: 4:25-
l(a}. Permissive Joinder, Joinder by Parties)

Vi. ACTS OF AGENTS

DOCKET NO. BER-L.DA

 
~ Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 10 of 47 PagelD: 15:

i4. At all times alleged herein, gach and every
Gefendant was an agent, representative and/or employee of
each and every other defendant. In doing or. failing to de
the acts stated herein, each and every defendant was.
acting within the course and scope of agency, authority,
representation or employment and was acting with the
consent, permission and authorization of each defendant
Leciuding the DOr defendant's. All actions of each
defendant as alleged and stated herein were ratified and
acproved by every other defendant or their respective

Officers, managing agents, cwners, di LXG@Ctors or corporate

VIET. DEFENDANT CTI's BUSINESS PRACTICES
AND. UNLAWFUL ‘ACTS

 

is, Defendant CTI is a “re-selier” of telephone numbers which

neludes providing phone number subscriptions serv ices, Calbiar

if

identification services, agbomated @ialing wath announcement and
cail routing, thereby allowing CTI to cellect a fee and profit

each time a call is made using its services:

.

i@. CTI is also a Common Carrier, licensed by the Foc

under filer No. 827574, permitting it to provide resale

internet VOIP telephone service to others.

In meeting FCC Common Carrier requirements, CT! must
have procedures in place to comply with Section 64. 2705:
Creation and Filing of System Security and integrity Manuals as
required by the Communications and Law Enforcement: Assistance
Act (CALEA). cn holds accounts for subseribers who seit products
oF services through telemarketing by using the services of CTI.

SPE

DOCKET NO. BER-L-O

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 11 of 47 PagelD: 16

17. he US Patriots Aet, Section 326 requires Banks and
others’ who hold account information on clients, to maintain
and confirm such information 4s accurate. its purpose is te
provide anyone lawfully seeking subscriber information to
provide such information with complete accuracy.

i8. CPD has failed in that endeavor.as they refuse, circumvent

a@ request or in the alternative, have no proof anyone acting on

theéy behalf; under their jurisdiction or authority other chen
she defendants themselves, placed or initiated the subject calls
oe viaintdete,

19. Crt maintains a website unger the name

Wa Ry VoxuTeles Ws .com'’.

29. According to that websi te, CTI is (also) a Call Center.
Snerefore, CTE, among its other services, engages
“celemarketing”, as those terms aré defined in the TCPA and the
New Jersey no-call-law,

21. In addition, the CTE website descitibes an FBlievant pert, the
whe OF Predictive Dialers for telemarketing purposes. (See
website: SpitFire Integration; ef seg.) [Exhibit 1]

a

22. The core services of CTI is td provide a ‘platform’ for

t

Lt8 subscribers, enablin: them to disseminate marketing calls to
t 3

   

Lhe i€8t extent possible, MEigwing: teers or ite subscribers
the @bility to distribete: telemarkets ng calls from one location

vith the added protection of hia: ing the callers true idens:

 

23. The FCC recently issued an Order in their Rules ane

Regulations implementing the Telephone Consumer Protection acc

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Petition of Club Texting, Ine

RAE 3

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wecharatery Ruling; FCC DA 16-25; CG Docket No. 02-278,

& DOCKET NO. BER-L-GO2795.16
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 12 of 47 PagelD:? 17

Released; dSanuary 11, 2016, statinc in relevant part;
organizat taons {such as CTI “who provide a platform for callers,
aré liable for the unlawful calis as if they actually made the
calls themselves", [EMPHASIS ADDED] [EXHIBIT-2}

24, CTL and its owners have either refused, are harboring of
-ai.ec in the requirements to provide the true identity and
ctual abode of the entity named in the subject calis Plaintifé
identified as their subscriber, Americas Choice Construction and

ALL American Chimney & Duct Cleaning. It is therefore believed

these entities do not exist ang are merely a fabrication ci CTI

to Hide its own prohibited calis.

25. SEC. 202. (47 U.S.C, 202) DISCRIMINATION AND PREPERENCES
states in relevant part:

it shall be unlawful for any common carrier: ... . to make
or give. any undue or unreasonable preference or

advantage to any particular person, class of persons, or
locality, ...

26. The Burke Defendants used their services, initiated outbound
teleghonme calls te both Plaintiffs homeg, to indute the purchase

OL Yepair and maintenance services from the yet unidentified tee

0D

os we %
#

i, Ironically, the CTI website claims TCPA Compliance. However,

hts procedures, if they even exist, fall short of meéetins

requlatory compliance standards.

edt SS

28. On December 11, 2015 Plaintiff Richerd Zelma sent CPI:

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rney a letter outlining the client's uniawful telemarketing

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rachice. There was no response. [EXHIBIT = 3]

AS

G3, The CPL defendants control or have control over their

cn

system. The CTI defendants refused to terminate service for the

2 . DOCKET NO. BER-L-00270S. 14
Case 2:16-cv-02559-CCC-MF Document 1-1 -Filed 05/06/16 Page 13 of 47 PagelD: 18”

all

-egeg Doe defendants. Ag a Common Carrier, which they are, the

CTI defendants have and had an obligation to which they refused

<0 exercise;
47 U.8.C. §206

in case any common carrier shall do, cr Cause or permit to be
done, any ast, matter, or thing in this chapter prohibited or
declared to be unlawful, or shall omit to.de any act, matter, or
thing in this chapter required to be done, such common carrier
shali be liable to the person or persons. injured thereby for the
full amount of damages sustained in consequence of any such
viclation of the provisions of this chapter, together with a.
reasonable counsel or attorney's tee, to be fixed by the court in
every case of recovery, which attorney's fee shall be taxed and
collected as part of the costs in the case.

30. ‘Therefore befendant CTI and its prineipals are liable for
‘the. yiclations. addressed herein.

ai. Upen ‘Pla

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ntifts understanding and bei i

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Bh

efendants’ Americas Choice Construction and All American
Chimney &@ Duct Cleaning are merely vaporous entities
fabricetec by the Burke's in one of several attempes +
hervest names of homeowners possibly needing home
repaire, thus establishing a méans to shield themselves
rom Liability. Such homeowner names could then be sold
as nefterral 2. ECS fo Various and Gther contractors

hroughout the area for an additional income to the cet

32. Defendant CTI engaged in this prohibited telemarketing to

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induce consumers to invest in. remodeling or maintenance service:

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eh

33. As part of its campaign to market these Services ,
~Befendants initiated Outbound telemarketing calle to phone

& DOCKET NO. BERL -t¢

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 14 of 47 PagelD: 19

numbers on the po Not. Cali Registry including those of both
Plaintiffs,

34. Defendants not have nor ever had any established

do

business relationship with either Plaintift.
» The Defendants did not have either of Plaintiffs’ express
egreement, in writing, to receive telemarketing calis initieted
te them through the use of an Automated Dialing anc Announcement
Device.

6. In numerous instances, the Defendants continued. to cail
who had previously informed Defendants that they

did not wish to receive additional calis by or on behalf of

befendants., Id, (See also exhibits)

37. in numerous instances, Defendants “spoofed” their. calls by

 

nithing phony caller identification information s6 that the
c4i2 ecipients would not know the true source of the calls.

numerous instances, the defendants Caller ID displayed

Oe

 

did not allow either Plaintiff to call back. durin

ALS

normél business hours and meke a do-not-call-request,

VITT. FACTS COMMON TO PLAINTIFF RICHARD ZELMA
$9. Plaintiff RZ subseribes to phone numbers [201) 767

SiS3 ang [321] 220 8922 for use as his residential lana-

#0. Plaintiff RZ subscribes to phone number [2612 210

C&Si as hie c@ll phone.

3 DOCKET NO. BER-Lt

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 15 of 47 PagelD::20°

41. Both phone numbers referenced in %39 above have been
listed on the FTC and New Jersey no-call-~registry since
inception.

$2, Plaintiff R2 has no established or «xi

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relationship with the defendants or either of them.
43. Prior to the commencement of the within dispute,

Plaintiff RZ had never contacted the defendants or either

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4é, ‘Plaintife received the unlawful catis at igsue,
trom, by OF on behalf of the defendants, ae follows:

fot (321] 220 8922 - 11.29.2015, 9:09 AM

Prom Tel: 201 639 3690 Name: R/A

To: {201} 767 8153 — 02.12.2016, 09:05 aM
Prom Tel: 201 639 3690 Name: Ridgewood

- O8 March 23, 2016, at 4:58 PM, Defendant eft

intensified ats effé6ris LO @lther haress and/or eaticic

ei

Plaintiff’ R2 by indtiating a prerecerded announcement te

plaintiffs cell phone [201 316 S851} ixvom spoofed phone

aumber [201] 464 3207 in an attempt to sell an extended

fet

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these calls, the defendant »

@ctomatac Cialing and announcement device as defined and

Gescribec above and solicited Plaintiff by initiating a

Cail to both his residential telephone lines as: well as

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none, with the possibility of additional calis

1 DOCKET NO. BER-L-o

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 16 of 47 PagelD: 21° ~

which will be sought through continuing discovery.

47, The defendants do not have an internal no-call

 

as required by law.
48. The defendant's employees are not trained in the
use of @ company specific no-call list as required by
49. The defendanc dées not have procedures in place ts
“effectively® prohibit unwanted calls. |
50. The foregoing deficiencies caused the defendant to
initiate repeated calls to plaintiff which evidence the
absence of any "efvective" no-call procedures.

TX. ERCTS RELEVANT TQ PLAINTIFF NICOLE ZELMA

jte Plaintiff Nicole gelma eubscribes to Verizon phone

service for her landsline residential phone number; p21)
239 D863 Which she's maintained for at lesat 35 years,

oe. Plaintiff Ng listed her families residential numbeéx
Cebl}] 439 €563 en the rfc and new Jersey no-Call-réegistiry

S53. Plaintiff oz does not have nor ever had ans

ished or existing relationship with

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Liner of them.

54. Prior to the commencement of the within action

 

ff NZ had never contacted the defendants or either

1 DOCKET NO. BER-L-a02

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 17 of 47 PagelD: 22

55. Plaintifi WZ Lists the unlawful calls yveceived from
che Defendants as follows;

B/31/15 =~ 8:10 PM;
9/5/15 - 11:53 AM
9/12/18 - 11:01 AM.
9728715 -~ 7:16 PM;
O/8/18 -~ 9:99 am;
to) tay 18 + 9:24 AM and
10/31/15 = 9308 AM.

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56. Thronghout these calls, the defendant used an
auiomatiec dialing and announcement device as defined and

cestribed above and solicited Plaintiff by initiating
residential telephone line, with the

eddaditional calls which will be sought

 

57. Evidenced by the repeated calis, the defends

mot PAVE AN internal no-call list. Id.

58. The defendant’s employees ere not trained in the

 

S69. The defendants do not have procedures in place to
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unwanted calle. Id.

69. The foregoing deficiencies caused the defendants to

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initiate repeated Cails to plaintiff which evidence the

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of any “geifective” wo-call procedures,

X. VIOLATIONS OF LAW COMMON TO BOTH PLAINTIFYS

64.. Each call received was in violation of pleainnits'

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previous no-call requess,

(82, Some calls cited above were prematurely abandoned,

2 DOCKET NO.: BER-L-G02 704-15
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 18 of 47 PagelD: 23°: :

€@5sent the requisite 2 second greeting in each euch call,
requiring "the defendant's name, phone number and reasen

for the califsj". [47 C.F R, $§64,1200(a)(5)&(6)).

 

63. Each call received produced a iocal number on
Plaintiffs caller ID of 1201) 639 3690 or [201] 464 5207

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which when dialed, failed to reach a Live yepresentative

64. the defendants knowingly hid, blocked Or

deprogrammed the real phone numbers from which the calis

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call-centers, thereby making it difficult af not
impossible for Plaintift or others receiving the

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uninvited calls to effectively stop them. id.
65. The defendant's tells were purposely programmed act

vo transmit the true Caller ID name but only display

Save

‘L20L)] 639 3690" or “[201} 464 5207” on Plaintiffs Calle:

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66. At all times material to this Complaint, acting

alone or in concert with others, the defendante and each

of whem had the authority and responsibility ta prevent
Or correct the unlawful acts but knowingly failed to a

BG Gr willfully chose to aQ nothing.
67. The Defendants are therefore liable along with the
currently unnamed Doe Defendants, under the terms of a7

“HBC. §227(b)(3); (c}(S) and Nig.s.a, S5618-119..

3 DUCKE T NG. SERAL

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 19 of 47 PageID: 24

68. The Defendants used an automated dialing. and
announcement device {ADAD) of an Automatic Telephone
Dieling System (ATDS) to solicit Plaintiffs and did eo in
violation of 47 Use §227{b) (1) (8).

64, At all times relevant, the Defendants purposely,
Wilifully or knowingly made the calls at iseue to
Plaintiffs; initiated or caused the initiation of those
CB.i8 £0 Plaintiffs; and delivered gaid calls tos
Plaintiffs, which were purely commefcial in mature, 0
benefit the Defendants’ own financial cain.

70, Tre Defendants failed to obtain Plaintiffs prisr

written express consent to receive their auto-diales

71. Bt all tines relevant, the Defendants failed or
refused to register their intent to soldcit inte the
State with the New Jersey Division of Consumer Affairs

{[NeivS.k, $§56"8-121(ai(@(b)}

 

XI. PRIS COURT'S POWER TO GRANT RELIEF

 

fe 87 D.8,0. §2271(5}(3)(A} empowers this Court to
grant injunctive and other ancillary relief to prevent

and remedy any future violation by the Defendants of any

intitie will suffer continual harassment sions

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with substantial emotion 1a] distress and abuse that will

a DOCKET NO: BER-L-002794..6
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annoy and alarm their household if the Defendants are

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jor
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ted tO continue to engage in their gquestionabie
practices, if Permanent Injunctive Relief is not qranted,
74,  Actordingly, Plaintiffs have a cause of action

against the Defendant and hereby seeks relief under the

TCPA'S Strict Liability statutory damage award as well as

Permanent Injunetive Relief pursuant ‘to the foregoing,

 

 

against the Refendant.,
. MIT. COUNT ONE
VIOLATIONS OF a? a S.C. §227_(b)(1)(B) -
7S. Plaintiffs repeat, re-allege and incorporate by

referente Paragraphs one through seventy-four es if set

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c.

 

76. The Defendants violated the provisions of 47 1
Se27¢D3(1)(B), by the. unlawful use of an automated

dialing and announcement device under its

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direction and/or control. The

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enOwingly used such device which caused the Enatd

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tepeated autoedialed calls, prerecerded anhouncements and

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abandoned calls, aiong with improper Caller ID, to

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Flainniff's homes, din which case such calls subsequently
became haressing, alarming and seriously annoying to both
Plaantiftfs.
WHEREFORE, Plaintiffs demand dudgment against Defendants
a8 f€Ollows:

  

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‘Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 21 of 47 PagelD: 26

Awerd Plaintiff Rz Strict liability stato:

ory

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amages of $800 for each of the three. (3) unlawfol
Calis material to. Count One for a tokal of $1,806.
Award Plaintiff NZ strict liability state tory
damages of 8500 for each of the seven (7) unlawfor
calls material to Count One for a ‘total of $3,509
XITT. COUNT TWO
PROTECTION OF SUBSCRIBER PRIVACY RIGHTS

VIOLATIONS OF A? ULS.C, §227¢0}

77. Plaintiffs repest, reé-allege

gr

nd incorporate by

reference Paragraphs one through

Ee)

evenivesix as if set
forth in. full at length.

78. On the date and times set forth herein, Pla intifis
received and answered their residential telephone lines

hearing prerecorded telemarketing calls FLOM

the
Deferdants d®seriping home remodeling services.
79, The defendants initiated those calls and solicited
Plaintiffs in violation of their priv acy rights. Id.
eo. Plaintiffs: residential phone. numbers are
reqistered on the Federal and. State no-call-list since
inception,
81. Each of the Defendants calls were initiates for
celemarketing purposes and violated the restrictions ans
proscrivticgns of both Plaintiffs. nO-call registration.
a2. Upon information and belies, the Defendants did
not register and for purch age @ doewnot-call list from the

16 DOCKET NO! BER--08"'

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 22 of 47 PagelD: 27

rrC or the New Jersey Division of Consumer
Atfairs.{N.J-S.R. §§56:8-121(a)(&{b)]

The Defendants and each of them knowingly provided
factually incorrect caller ID information including false
snformation in the recordings that they were located in
hew Jersey, such that they were calling from New Jersey,
when in. fact they were calling from Nebraska.

Ge, The defendants’ repeated calls gives rise to a

cause of action against each of them under autherity of

 

(c}(5) as well as the Regulations promulgated

o

thereunder, for soliciting phone numbers on the no-call

BS. The. defendants foregoing conduct by each of then,

constitutes separate violations

 

and the Regulations promulgated
thereunder, 47 C.F.R.§64.1200(c) (2) (C1.

WEEREFORE, Plaintiffs’ demand judgement ageinst

Defendants as follows:

Aware Plaintiff RE! strict liability
statutory damages of $506.00 for each of the

2 violations material to Count Two, for a
total of $1,500.
Award Blaintiré iNe? strict liability
Statutory damages of $500.00 for each of the:
? violations material to fount Two, fer oa.
total of $3,500..

W DOCKET NO. BER-L.-002

 
‘Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 23 of 47 PagelD: 28°

XIV. COUNT THREE:
Award for Statutory Trebled Damages
For Wiliftul Or. Knowing Violations. of
the TOPA, AT ULS.C. §227(b}13)(C)

86. Pl@intifts: hereby incorporate all of the
eilegations of paragraphs one through eighty-five as if

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forth in full @t length.

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Pleintiffis' blanket notification not to receive

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ehing calls were made by their registration
with the Federal and State no-cali-list at inception of

che registry in 2003 @ 2004 (respectively). Id.

ae, The Defendants knowingly or willfully vielated the
°CPR ge well as the New ver sé€y no-~call-law when they used

an ADAD, called an@ soli Plaintiffs on the dates ser

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faa sce bel kext Sle fan be . 4 et a8 se * ae ge pg aT gg 4 gu ge ee ese “ns gt, ay he 2
POLtA Neréinjy intentionally used a cerefuliy orchestreted

prerecorded sales script to solicit plaintiffs for the

 

en affirmativ act 3n @n unconscionable

 

commercial practice of deception, fraud, false pretense, feise

nse and. misrepresentation an cenpection with the initiation

 

$i. Tae, defendant’s affirmetive act was a

 

 

falling tO mention they were not

 

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 24 of 47 PagelD: 29

 

ully migigading the. call recipients into believing they

were New Jersey contractors, but rather in the business of

simply harvesting homeowner ‘leads that would be sold at @ later

92, On the cates set forth above, the defendants knovwi: ngiy
solicited into New Jersey while not registered with the
Department of Law and Public Safety, New Jersey Division of

Consumer Affairs. [N.J7,8,A.§§56i:8-121 (a) (&(b)}

 

a

93, On the dates set forth herein, the Defendants know ringly

or willfully initiated calls to beth Plaintiféis with their

By

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sntent to solicit them for 4 service, using deception and fals
pretense, knowing they would be calling numbers on the fédéral

end state no-Call-list since inception but chose to call them

$4, The defendants foregoing acts or practices ag set
forth above, were known, directed, accepted and appréved
prior to implementation by the Defendants and each of
chem in theis capacity as owner{[e], director(s],

attorneys, marketers, call centers, platform providers,

common carriers, managing member{s] or through agency for

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iefendarnts.

os. The Communications Act of 1934, 47 UB.S.c. $312

 

(f)(1) (of which the TCPA is a part) does not impose a
“ ay te qe < . 4 : in ‘ 4 Soe ’ ge FB 44
MEntas State requirement in that it defines wilif

conduct as “the conscious or ‘deliberate commission or

9 OCKET NO; ‘BER-L-OG2 765.78
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 25 of 47 PagelD: 30

omission of such act; irrespective of any intent to
vViOlat# any provision, rele or regqulation.*
26. The defendants knew or should have known their

antentigons to solicit plaintiffs by telephone would

violate the TCPA as well as New Jersey's no-call law, but

they chose to initdate their unlawful calls and sclicited
Plaintiffs anyway.

 

o7. The Defendants and each of them knowingly or
willfully violated 47 U.5.C.§227(b)(1)(B) which provides

ay statute, entitling Plaintiffs to treble damages, up ©6

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or each and every viclation of Count One,
98. The Defendents knowingly or wilifully Violated 47

U.S.C. 922710) whieh prevides by statute, entitiin

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Plaintitfe to receive treble damages; equal to not more

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than three times the amount available under 4?
US. C.8227(¢6)15)(B}, for an award of $1,500.00, for each
and every violation of Count Twe.

89. Accordingly, the willful intent to violete the
TCPA, having direct knowledge of its prohibited acts,
makes each of the Defendante collectively and vicariously
liable thereunder for treble the $500 strict statutory
Liepali by damage amount for ‘each’ call in Counts One and
Two, tO an award of $3,000.00 per violation aS per Count

Three ;

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27 US. 0. §S8227( bi 3)iBy and (C).

26 DOCKET NO.: BER-L-g0279$-t¢
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 26 of 47 PagelD: 31

WHEREFORE, Plaintiffs demand judgment against Defendants
as follows:

 

Award Plaintiff RZ strict liability statutory trebled
Gamages of $3000.00 for each of the (three} 3 call
violations material to Counts One and Two for a total of
$9000.00. ($3000 X 3 calis $9000

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Award Plaintiff NZ strict liability statutory trebled

i

damages of $3000.00 for each of the {seven) 7 call
viglations material to Counts One and Two for a total cf
$22,000.00. ($3000 X 7 calls = $21000

PRAYER FOR RELIEF
WHEREFORE, Plaintiffs pray that this Court:
(aj Award Plaintiffs estatutery and

actual damages fo

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the series of
subject calls material to Count.
one.

(b) Award Plaintiffs statutory and
actual damaces fer the #eries of
gubdect calls material to Couar

Two,

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Award Plaintiffs etatutory and
erebled damages for the series of
unlawful calls material to Count
Three

{da} Award Plaintiffs, if applicable,
the cost of this Litigation

pursuant to N.g.S.A. §56:8-19

 

24 DOCKET NO; BER-1 G02 795-
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 27 of 47 PagelD: 32

 

{e) Award Plaintiffs attorney fees if
applicable, pursuant to MN.iJ.S.A.
$56:8-19 et seg

(f) Award both Plaintiffs Permanent
Injunctive Relief pursuant to 47
U.S.C. §227(b)(3) (A)

(g}) Award Plaintiffs any Other
Equitable Relief the Court deems
justified to stop the aggravated
harassment defined and described
herein.

(h) Plaintiffs reserve the right to
supplement. and or amend this
complaint in the event additional
violations surface throug
continuing discovery.

Respectfully submitted,

 

 

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Dated: March 29, 2016
Dated: March 29, 2016

DOCKET NO.: BER-L-O02365.46.

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Case 2:16-cv-02559-CCC-MF Document1-1 Filed 05/06/16 Page 28 of 47 PagelD: 33

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y that the matter in controverey i8 not the

seupject of any other Court ox Arbitration preceeding,

nor is any other Court or Arbitration proceeding
contemplated. No other parties should be Joined in
this ac

  

 

ZELME, pro se. Dated: March 22, 2016

 

pre s@ ss Dated: March 23, 2016

 

NOTICE TO. ATTORNEY GENERAL
FOR THE STATE OF NEW JERSEY

  

NOTICE IS HEREBY GIVEN to the off ‘ice ef Attorney
General for the State of New J@rse@y pursuant te
NSB .A. $86 r8-20 of (the within cleim besed apon
violations of the Consumer Fraud Act and the New
JeCReyY NOsCail Law.

oof wae hereby certify that contemporaneous with the
filing hereof, a copy of this pleading has been mailed
to the aforesaid Office of Attorney General for the
State of New Jersey at the New Jersey Stete Pivisicn
ot ‘Law; Hughes Justice. Complex, 25 WW. Market St., P.a.
Box Lll2Z, Trenton, NO 98625-0112.

 

 

 

RICHARD M. ZELMA, pro se Dated: March 29, 2016
PLAINTIFF
MEE
LE AELUA; pro se Dated: March 29, 2016

 

33 DOCKET NO. BER-L (0278
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 29 of 47 PagelD: 34

Signed on the dates set forth herein
Norwood, Nd 07648

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Streamline the complex tasks of TCPA and DNC compliance

 

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ce mpilance. in addition to cur expellent S19 service oferings. Voytelesys fulther su prorts the needs of moder at
centers with robust tools aimed at simplifying and strearlining the complex tasks of modern TCBA and DNC com

    

 

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VOX x CN || TCPA Compliance For Contact Centers |

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ok the high fires or penalties acew in-place fer operat ing outside TCPA compliance, by unknowingly calling mobile and withle
out the express written consent required by the F

it vox Chi Celiar Numbersdenth Hication), you can. easily scrub your listein eal time, generate reports to audit and varity yromplans
Ntegrate your CHl-related TCPA compliance tacks directly with h your dialer platiorm onthe tly.

 
 

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renders and call center sonfigurations, So don't take unnecessary risks
0, AOE {haw Vos Cli can keep your calls safe and your cail center productive,

 

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with your cali ceriter. compliance « contact Vox :

   
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 32 of 47 PagelD: 37

   

 

 

   

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SiP Dialer Termination (http;//voxtelesys.com/dialer-termination/#info)
Rebable, competitively priced dialer terminaton, designed to avoid network intrastructure overload caused by excessive dieie: waffic:

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: S Detailed Call Analytics {http://voxtelesys.com/custom-reporting/#inFo)
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 33 of 47 PagelD: 38

 

vox CNI + Spitfire Dialer

 

é integrates direct! ywith your dialer and keeps your contact center rcomipliantin real-time aint
risking hey FCC fines and comp! fy with TCPA fepuls Onis on-the-fiy with Vox CNL

    

 

$b itFire Dialers

 
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 34 of 47 PagelD: 39

Look more Coselyinte the patterns of your telecommunications Usage with our suite ol data analysis tools like billing reports aad custom
call record reporting. . i

http://voxtelesys.com/for-contactcenters/)

Call Center Integration (http://voxtelesys.com/for-contact-centers/)

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HuOky oP call Connects, every time ~ and for call centers, wecan offer se much more. integrate wilh our robust call reporting: complance and
tracking solutions, ,

 

   
Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 35 of 47 PagélD: 40°

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Federal Communicaiions Commission DA 1625

 

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Federal Communications Commission
Washington, DC. 205384

 

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Adopud:: January 11, 2016 Relesscd: January il, 2016

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Federal Communications Commission DA die dS

  
 
  
 
 

   
   
 

 

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A. The Tel lephone Consumer Protection Act and the C aminission’s Implemeating
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Federal Communications Comniission DA 16 G38

 

  
   
        

 
  

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Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 40 of 47 PagelD: 45

Federal Communications Commission . DA 1635

    
   

TOP A nor the Comintission’s rules require an opisoul ndilee or any gi ide
text Xi messages. = Aen result, these pare argue that if the nat breadcasies
fax broadcaster Sandare, then

   

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chen y nore claims are made’ :

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setveen robocalled | i a fax ade that mifiiate avainsr granting ol the /
dition, se vera) comfieniers reference: che hig igher prolecuians afore fo wingess nu

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Federal Communications Commission DA1§-24

use pF others has knowingly allowed its chent(s) to use thai platform for unlawful

purposes May ging be a factor in determining whether the 2 plat! Forni provider isso
ireobe|d in

  

pLaviny dhe calls as to bé deemed to have initiated then.

  
        
 
 
 
  
 
  

nwhg “nukes” “or ing
based determination es governed by factors such ae Ww! sich party Aekes | t
place” that call and ‘the extent and nature of] imvarvernent by others, ineiud:
the eal fp platform ased to make tha call, T berefore, we conf v7 thal this.a
applicable standard for determining text: brdadcaster libit y for TCPA wielations
Comm bi as Clarified the standard to be applied fo te ‘broadcasters and thats
standard ; ies to-Tan broadoasters, we: Seny Coub Texting's request for 4 die
broadcas subject io the Tax broadcaster standard. iy add iten, Wve nole thatthe re
is snsuiliciont io make'such e facl-specific determination as to any specific gext broadé

    

   

 

       
  
 

 
 
 
  

 

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rv, ‘ORDERING CLAUSES

 

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RED, pursiant we sections <4, and 227 of et
1-154. 229, sections 1.2 and 64.1200 af the Com
and the authority delegated in sections 0.44! and 0:3
4.0.35), that the Petion for Declaratory Ruling fled | by Club Text
Bon August 28, 2008, IS DENIED.

    
 
 
 

 

     
 

FEDERAL COMMUNICA TIONS COMMISSION

Alsor Kutler
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Consumer nd Governmental / ASRS Hares

 

 

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Case 2:16-cv-02559-CCC-MF Document 1-1 Filed 05/06/16 Page 42 of 47 PagelD: 47

Federal Communications Commission __ 0. DA Lh 2S.

APPENDIX
List of Commen fers

The following parties have filed comments in response to the Public Notice issued in this mater (C0
Docket No. 02-278):

fom menter

   
       

Connor
OS Edwards

   

PSN ENB
Jay Connor

Pau DS. Edwards
James Goadlack

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December 11, 2015
VITA. ELECTRONIC MATL Accountingkvoxtelesys. COR,

 

 

Bruce Burke
Computer Telephony Innovations, Ine.
L723 N. Walnut Street . :
Wanoo, NE 68066
RE: Prohibited telemarketing calis
Dear Mr. Burke:

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are being informed that calls initiated by your
tien to a rebidential telephone landline, [26113 439
peddling some home improvement deal, violated Federal
State Telemarketing laws: [47 U.S.0. §227 et seg; 47
S64.1266, §€4.1601, 16 G.PLR. $310 and Nid.S.ak. 85 6:0-

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signed immediately. -You may edith eall omy me
767 8153 or emai He at the sbove “Udatese.

   

js? Richard M. Zelma

 
